
Mr. Justice Nelson
delivered the opinion of the court:
This is a petition to the Court of Claims against the Government to recover damages for a breach of six several contracts with the Postmaster-General to carry the mail. The routes over which the mail was to be carried Jay in the States of Arkansas, Mississippi, and Louisiana. The commencement of the service under the several contracts was at different periods, in 1859, 1860, and 1861, but terminated at one period, the 30th June, 1862. The aggregate compensation annually for the service on all these routes was $65,568. The petitioner has been paid in full on each of the routes up to the 1st of June, 1861. On the 27th of May, 1861, the Postmaster-General issued an order suspending the service on all the routes till further order, to take effect May 31st. The petitioner requested that, instead of suspending the service, the Postmaster-General would annul the contracts. But this was refused, and he was informed that he would be held responsible under them, and be ordered to renew the service whenever, in his opinion, it would be safe to do so. The petitioner resided in Washington, and, as found by the court below, it would have taken him twenty days to have gone to Arkansas and have disposed of his property on his several routes. No part of his stage property was removed from them j and no special notice given to him afterwards of a discontinuance of the service on the routes embraced within his contracts.
Each contract contained a provision that the Postmaster-General might discontinue or curtail the service, in whole or in part, whenever the public interests required it, he allowing one month’s pay on the amount of the service dispensed with.
Upon this statement of the case, and it is supported by the facts found by the court below, it is difficult to see how the Gov-*91eminent can avoid tbe payment of tte month’s pay upon any principle of justice or equity. The Postmaster-General, representing in this department the Government, refused to put an end to the contracts; but insisted upon a suspension only at his pleasure, and at the same time gave notice that he, the contractor, would be held responsible for a renewal when he (the Postmaster-General) should deem it safe to renew it. Of course, the stage property must be kept on hand at the expense of the contractor, ready to render the service when ordered; and, according to the views of the Government, without either remuneration or any allowance for the same, not even the one month’s extra pay on the amount of service dispensed with, which, in express terms, is provided in the contract.
The only answer given to all this is, that a civil war existed between the United States and the States within which these mail routes lay, and that all intercourse with them was illegal upon the principles of international law. Assuming this to be so, the Government would have been justified in putting an end to the contracts ,• and, in the absence of any interference on the part of the Government, the contractor might also have terminated them. But the Government did interfere, and forbid the annulment or termination of the service, and insisted, notwithstanding a state of civil war, that the contract should continue, and the service be renewed at the pleasure of the Postmaster-General. The truth is, and which affords an explanation of the otherwise extraordinary dealings with this contractor, that, although a state of war existed between the United States and several of the Southern States, or portions of them, the territorial limits within which it existed was not well defined. Even as late as July 13, 1861, an act of Congress was passed authorizing the President, under the particular circumstances stated therein, to issue a proclamation declaring any one of these States, or any part of it, to be in a state of insurrection against the United. States, and thereupon all intercourse should cease between the same and the citizens thereof and the citizens of the rest of the United States. (12 Stat. L., p. 257.) This proclamation was not issued till the 16th of August following, when certain States, including Arkansas, Mississippi, and Louisiana were first declared to be in a state of insurrection within the act, and all intercourse with the loyal States was prohibited. (12 Stat. L., p. 1262.)
*92This intercourse was but partially interrupted at the time these contracts were suspendedand, although a disloyal feeling-prevailed, and was apparently increasing, yet the policy of the Government was to conciliate the people, and separate them, if possible, from the leaders; and one of the means used for this purpose was to continue these mail and postal accommodations so long as any hope existed of preventing the rebellion or continuing peaceful relations. The suspension of these contracts, instead of putting an end to them, at once, and the demand upon the contractor to keep his stage property on hand ready to render service, doubtless grew out of this policy.
The Act of 28thFebruary, 1861, (12 Stat.L., p. 177,) provided that whenever, in the opinion of the Postmaster-General, the postal service cannot be safely continued, &amp;c., for any reason, he was authorized to discontinue the service till the same could be safely renewed. It was, doubtless, under this act he suspended the service in the present case. But this act had no effect to control the legal import of the contracts, nor did it confer any greater power than he possessed under them. According to their terms, he had the power to discontinue or curtail the service on any route for any cause, allowing one month’s pay.
It may, we think, be well doubted if the Postmaster-General had the power under this act to discontinue the service, and still hold the contractor to renew it. It simply confers power “ to discontinue,” for any cause, “ the postal service on said route, or any part thereof, and any post-offices thereon, till the same can be safely restored, and shall report his action to Congress.” Nothing is said as to the duty or rights of contractors; and, in the absence of any provision on the subject, it would seem to be unreasonable to hold him responsible to renew the service at any future indefinite period. But it is unnecessary to decide this point.
The degree reversed, and cause remanded with directions to allow one month’s pay under the contracts.
